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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                    Case No. 2:06-cr-15-05
                                                      HON. R. ALLAN EDGAR
JACOB STEVEN GUNDERMAN,
                                     /

                        ORDER APPROVING AND ADOPTING
                         REPORT AND RECOMMENDATION


      The Court has reviewed the Report and Recommendation filed by the United

States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objections have been filed thereto within the time required

by law.

      THEREFORE, IT IS ORDERED that:

      1. The Report and recommendation of the Magistrate filed 8/9/06 Docket #119,

is approved and adopted as the Opinion and Findings of this Court.

      2. Defendant JACOB STEVEN GUNDERMAN’s plea of guilty to Count 10 of the

Indictment - Distribution of Oxycodone is accepted. Defendant JACOB STEVEN

GUNDERMAN is adjudicated guilty.

      3. A decision of whether to accept the written plea agreement will be made at

the time of sentencing after the Court has had the opportunity to review the Pre-

sentence Investigation Report. See U.S.S.G. Ch. 6.

      SO ORDERED.

      Dated: 9/8/06                               /s/ R. Allan Edgar
                                                  R. ALLAN EDGAR
                                           UNITED STATES DISTRICT JUDGE
